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  Pharmaceuticals Laboratories, Inc., Jiangsu
  Hengrui Pharmaceuticals Co., Ltd., and
  Fresenius Kabi USA, LLC


                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY



  PACIRA PHARMACEUTICALS, INC., and
  PACIRA BIOSCIENCES, INC.,                     Civil Action No. 2:21-cv-19829
               Plaintiffs,                      Civil Action No. 2:22-cv-00718
     v.                                         (consolidated)
  eVenus PHARMACEUTICALS
  LABORATORIES, INC., JIANGSU                   Assigned to:
  HENGRUI PHARMACEUTICALS CO.,                  Judge Madeline Cox Arleo
  LTD., and FRESENIUS KABI USA, LLC,            Magistrate Judge Jose R. Almonte
               Defendants.


       DEFENDANTS’ PROPOSED SUPPLEMENTAL FINDINGS OF FACT AND
                        CONCLUSIONS OF LAW
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           Pursuant to the Court’s Order (ECF No. 393), Defendants submit the following proposed

  supplemental findings of fact and conclusions of law.

           1.        Pacira has provided no evidence that Jiangsu Hengrui (or any Defendant) failed to

  produce, or destroyed, any documents relating to the bupivacaine liposome injectable suspension

  products that are subject to ANDA No. 214348 at issue in this case. While the FDA issued a Form

  483 Notice (PTX-494)1 to Jiangsu Hengrui on January 16, 2024, that Notice concerned a facility

  (Huanghe Road) that is clearly not involved in the manufacture or testing of bupivacaine liposome

  injectable suspension products that are subject to ANDA No. 214348. Rather, as required by the

  FDA, ANDA No. 214348 explicitly discloses all facilities involved in the manufacture and testing

  of the bupivacaine liposome injectable suspension products that are subject to that ANDA; the

  Huanghe Road facility subject to the Form 483 Notice is not one of them.               DTX-3119.2

  Furthermore, after the FDA issued the Form 483 Notice, it gave final approval to Jiangsu Hengrui’s

  bupivacaine liposome injectable suspension products that are subject to ANDA No. 214348;3 this

  supports that the FDA has no outstanding issues with ANDA No. 214348 or the documentation

  related to it.




  1
    Defendants object to the admission of PTX-494 as irrelevant and prejudicial, as it relates to a
  facility that had no involvement with the bupivacaine liposome injectable suspension products that
  are subject to ANDA No. 214348.
  2
    Jiangsu Hengrui requests that DTX-3119 be provisionally maintained under seal, subject to a
  forthcoming motion to seal, as it contains Jiangsu Hengrui’s confidential information relating to
  the manufacture and testing of the bupivacaine liposome injectable suspension products that are
  subject to ANDA No. 214348.
  3
   Pursuant to Federal Rule of Evidence 201(b)(2), the Court may take judicial notice of the FDA’s
  approval      of      Jiangsu      Hengrui’s       ANDA        No.       214348.             See
  https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?event=overview.process&ApplNo=2
  14348 (FDA website, indicating FDA approval of ANDA No. 214348 on July 1, 2024).
                                                     2
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           2.        The trial record includes results of Jiangsu Hengrui’s testing of EXPAREL® under

  accelerated stability conditions at 25 oC for six months. JTX-4026.0018. Pacira was not prevented

  from cross-examining Dr. Schwendeman concerning this data. At trial, Pacira’s counsel chose not

  to question Dr. Schwendeman regarding the data.

           3.        The information that Pacira claims was not produced or might have been

  destroyed—test results from testing of EXPAREL® under accelerated stability conditions—would

  not be inconsistent with Defendants’ invalidity arguments. The flawed logic behind Pacira’s

  assertion is that Defendants’ invalidity position would be undermined if there was any evidence

  that a prior art batch of EXPAREL® does not practice asserted claim 7 of the ʼ495 Patent. The

  Court concludes that the sale of a single anticipating batch would render claim 7 anticipated and

  the evidence, as a whole, presented at trial demonstrated by clear and convincing evidence that

  one or more of Pacira’s approximately 2,600 batches sold before January 2021 anticipated claim

  7. ECF No. 365-1 (Defendants’ Proposed Findings of Fact) at ¶¶ 135-148; ECF No. 365

  (Defendants’ Post-Trial Opening Brief on Invalidity and Unenforceability) at 28-35; Electromotive

  Div. of Gen. Motors Corp. v. Transp. Sys. Div. of Gen. Elec. Co., 417 F.3d 1203, 1209 (Fed. Cir.

  2005) (“We need not consider whether the district court was correct as to all of these sales because

  a single sale or offer for sale suffices to bar patentability.”). In light of the evidence submitted at

  trial (that some batches met the six-month erucic acid concentration limitation of claim 7, while

  others did not), the stability test results about which Pacira now speculates would not have been

  inconsistent with any argument presented at trial.




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  Dated: July 25, 2024                 Respectfully submitted,


                                       /s/ Eric Abraham

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